      Case 4:17-cv-01196-CCC       Document 23     Filed 12/27/17   Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

A.R. SOKOL, INC.,            :                CIVIL ACTION NO. 4:17-CV-1196
                             :
                  Plaintiff  :
                             :                (Chief Judge Conner)
         v.                  :
                             :
NORTHPOINT DEVELOPMENT, LLC, :
AND NP NEW CASTLE, LLC,      :
                             :
                  Defendants :



                                       ORDER

      AND NOW, this 27th day of December, 2017, it having been reported to the

Court that the above-captioned action has been settled, it is hereby ORDERED that

this action is dismissed without costs and without prejudice to the right of either

party, upon good cause shown within sixty (60) days, to reinstate the action if the

settlement is not consummated.

                                           /S/ CHRISTOPHER C. CONNER
                                           Christopher C. Conner, Chief Judge
                                           United States District Court
                                           Middle District of Pennsylvania
